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                                      UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF ALABAMA

 UNITED STATES OF AMERICA                                                        JUDGMENT IN A CRIMINAL CASE
                                                                                 (For Revocation of Supervised Release)

 v.
                                                                                 Case Number: 1:17-CR-00143-001
 TARELL LAMAR TAYLOR                                                             USM Number: 16912-003
                                                                                 Joe Carl Jordan, Esquire
                                                                                 Defendant’s Attorney

THE DEFENDANT:
      admitted guilt to violation of Special condition and standard condition 6 of the term of supervision as set forth in the Petition
 dated 9/1/2022.
      was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

      Violation Number                       Nature of Violation                             Violation Ended
            Special                                Technical
              6                                    Technical




The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has not violated condition(s) ________________________ and is discharged as to such violation(s)
       condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.



                                                                          September 22, 2022
                                                                          Date of Imposition of Judgment

                                                                          /s/Terry F. Moorer
                                                                          Signature of Judge

                                                                          TERRY F. MOORER
                                                                          UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                          September 23, 2022
                                                                          Date
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DEFENDANT:                TARELL LAMAR TAYLOR
CASE NUMBER:              1:17-CR-00143-001
                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

TIME SERVED.

       The court makes the following recommendations to the Bureau of Prisons:



       The defendant is to be released from custody once he is processed by the United States Marshal.
       The defendant shall surrender to the United States Marshal for this district:

               at                                        a.m.                p.m.   on

                as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:


        Defendant delivered on                                     to


at                                      , with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL
                                                                        By

                                                                                         DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                   TARELL LAMAR TAYLOR
CASE NUMBER:                 1:17-CR-00143-001
                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Twenty-four (24) months.

       Special Conditions:

1) The defendant shall submit to periodic urine surveillance and/or breath, saliva, and skin tests for the detection of drug and/or
alcohol abuse as directed by the Probation Office. Defendant may incur costs associated with such detection efforts based upon ability
to pay as determined by the Probation Office.

2) The defendant shall submit his person, house, residence, vehicle(s), papers, computer(s) (as defined by 18 U.S.C., § 1030(e)(1)), or
other electronic communication or data storage devices or media, business or place of employment and any other property under the
defendant’s control, to a search conducted by the United States Probation Office at a reasonable time and in a reasonable manner,
based upon a reasonable suspicion of contraband, or evidence of violation of condition of release. Failure to submit to a search in
accordance with this condition may be grounds for revocation. The defendant shall warn any other occupants that the premises may
be subject to searches pursuant to this condition.

3) The defendant shall have no contact with Courtney Torrie.

4) Immediately upon release from custody, the defendant shall spend the six (6) months of the supervised release term at the local
Residential Re-Entry Center (RRC). The defendant is to abide by all rules and regulations of the RRC, as directed by staff and the
Probation Office.

                                                    MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon.
 4.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests, thereafter, as determined by the court.

              The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low
              Risk of future substance abuse. (Check, if applicable.)

 5.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution. (check if applicable)
 6.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 7.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 8.         You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.


                                                   See Page 4 for the
                                        “STANDARD CONDITIONS OF SUPERVISION”
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DEFENDANT:                TARELL LAMAR TAYLOR
CASE NUMBER:              1:17-CR-00143-001
                             STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and
identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring
about improvements in your conduct and condition.

    1. The defendant must report to the probation office in the federal judicial district where you are authorized
        to reside within 72 hours of your release from imprisonment, unless the probation officer instructs you to
        report to a different probation office or within a different time frame.
    2. The defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer.
    3. The defendant must not knowingly leave the federal judicial district where you are authorized to reside
        without first getting permission from the court or the probation officer.
    4. The defendant must answer truthfully the questions asked by your probation officer and follow the
        instructions of the probation officer.
    5. The defendant shall notify the probation officer at least 10 days prior to any change in residence or
        employment.
    6. The defendant must allow the probation officer to visit you at any time at your home or elsewhere, and
        you must permit the probation officer to take any items prohibited by the conditions of your supervision
        that he or she observes in plain view.
    7. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons.
    8. The defendant shall not associate with any persons engaged in criminal activity and shall not associate
        with any persons convicted of a felony unless granted permission to do so by the probation officer.
    9. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer.
    10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court.
    11. If the probation officer determines that you pose a risk to another person (including an
        organization/employer), the probation officer may require you to notify the person about the risk and you
        must comply with that instruction. The probation officer may contact the person and confirm that you
        have notified the person about the risk.
    12. The defendant shall support his or her dependents and meet other family responsibilities.
    13. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered.


Defendant’s Signature                                                       Date

U.S. Probation Officer’s Signature                                          Date
